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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE


  ELAINE LEVINS and WILLIAM
  LEVINS, on behalf of
  themselves and others
  similarly situated,
                                          Civil No.17-00928 (CPO)(MJS)
                       Plaintiffs,

        v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC D/B/A ARS ACCOUNT
  RESOLUTION SERVICES, and JOHN
  AND JANE DOES 1 THROUGH 25,

                       Defendants.


                                   ORDER

       This matter having come before the Court on the discovery

 dispute raised by the parties in their respective submissions

 [letters by Mr. Stern on behalf of Plaintiffs, Doc. Nos. 96 and

 101; letter by Mr. Stuckel on behalf of Defendant, Doc. No. 100];

 and the Court having held an on-the-record conference in this

 matter on March 21, 2022; and the Court having heard argument from

 the parties; and this Order intending to address Plaintiffs’

 requests to compel the production of certain discovery as well as

 issues of scheduling; and good cause existing to enter this Order;

 and to confirm the Court’s rulings; and for all the reasons stated

 by the Court on the record,



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       IT IS HEREBY ORDERED on this 23rd day of March 2022, as

 follows:

       1.    By no later than April 20, 2022 Defendant shall produce

 to Plaintiffs the complete and accurate information corresponding

 to   the    four   additional     spreadsheet    fields    identified     in

 Plaintiffs’ October 14, 2021 request. Specifically, Defendants

 shall produce (1) the full name appearing as the “RP” in the DEBTOR

 section (indicating the party responsible for the debt); (2) the

 data populating the “Clnt” field (indicating the identity of the

 creditor to whom the debt is owed); (3) the date and time for each

 call during the relevant time period; and, (4) the telephone number

 reported for each call during the relevant time period.

       2.    By no later than April 20, 2022 Defendant shall provide

 an explanation to Plaintiffs for the discrepancy in the number of

 rows in the spreadsheets provided (April 2021 and January 2022).

       3.    The    deadline    for   filing     any   motion    for   class

 certification is extended to May 20, 2022.

       4.    The Court will hold a telephone status conference in

 this matter on May 17, 2022 at 9:30 a.m., which may be adjourned

 upon request if no outstanding issues remain. The call-in number

 is 888-808-6929, access code 2170922#.




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                                       s/ Matthew J. Skahill
                                       MATTHEW J. SKAHILL
                                       United States Magistrate Judge


 At: Camden, New Jersey




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